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16

17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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 1             TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2             PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) move the Court to

 4   consider whether Plaintiffs’ Opposition to Defendants’ Motion for Summary Judgment or Partial

 5   Summary Judgment (the “Summary Judgment Opposition”), the Declaration of Micah G. Block in

 6   Support of Plaintiffs’ Summary Judgment Opposition (the “Block Declaration”) and certain exhibits

 7   thereto, the Declaration of David Youssef in Support of Plaintiffs’ Motion for Partial Summary

 8   Judgment (the “Summary Judgment Motion”) and the Summary Judgment Opposition (the “Youssef

 9   Declaration”) and certain exhibits thereto, certain exhibits to the Declaration of Dana Trexler in

10   Support of the Summary Judgment Motion and Summary Judgment Opposition (the “Trexler

11   Declaration”), and certain exhibits to the Declaration of Anthony Vance in Support of the Summary

12   Judgment Motion and the Summary Judgment Opposition (the “Confidential Materials”), should be

13   sealed.

14             The Confidential Materials contain, refer to, or derive from, documents that NSO and/or

15   nonparties E-Tel, Joshua Shaner, Terrence DiVittorio, Westbridge Technologies Inc., Jefferies Group

16   LLC, Francisco Partners, QuadraNet, and Greencloud have designated as Confidential or Highly

17   Confidential-Attorneys’ Eyes Only pursuant to the Stipulated Protective Order (Dkt. No. 132) in the

18   above-captioned action and/or previously sought leave to file under seal. Accordingly, Plaintiffs now

19   move the Court to consider whether the Confidential Materials should be sealed. See N.D. Cal. Civil

20   L.R. 79-5(f). Plaintiffs specifically reserve the right to challenge any confidentiality designations as

21   well as the sealability of the materials at issue.

22             This motion and copies of any relevant attachments will be served on all non-parties by email,

23   since they have not appeared in this action.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
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 1    Dated: October 11, 2024                    Respectfully Submitted,

 2                                               DAVIS POLK & WARDWELL LLP
 3
                                                 By: /s/ Craig T. Cagney
 4
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